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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

In re:                              )
                                    )                         Chapter 11
PARTY CITY HOLDCO, INC., et al.,1   )
                                    )                         Case No. 24-90621 (ARP)
                                    )                         (Jointly Administered)
            Debtors.                )
                                    )
___________________________________ )                         Ref. D.I. 44, 375

         JOINDER TO OBJECTION OF MULTIPLE LANDLORDS TO DEBTORS’
       EMERGENCY MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS (I)
    AUTHORIZING THE DEBTORS TO (A) USE CASH COLLATERAL AND (B) GRANT
     LIENS AND PROVIDE SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS,
                ETC. AND REQUEST FOR ADEQUATE PROTECTION

           Agree Limited Partnership, Vestar Alderwood Parkway, LLC, Vestar Bowles Crossing,

LLC, Vestar Arizona XLVII, L.L.C., TPP Orchard Property, LLC, and Xia Property Management

LLC (the “Landlords”), by and through counsel, hereby join in, and incorporate by reference herein

as if it were their own, the objections and arguments asserted in the Objection of Multiple Landlords

to Debtors’ Emergency Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors

to (A) Use Cash Collateral and (B) Grant Liens and Provide Superpriority Administrative Expense

Claims, Etc. and Request for Adequate Protection [Docket No. 375] for the reasons stated therein.

           To the extent not inconsistent with the foregoing, Landlords join in the objections to the

Cash Collateral Motion2 filed by Debtors’ other landlords.




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Party City Holdco Inc. (9758); Amscan Inc. (1359); Am-Source, LLC (8427); Party City Corporation
(3692); Party City Holdings Inc. (3029); PC Intermediate Holdings, Inc. (1229); and Trisar, Inc. (0659). The location
of the Debtors’ service address for purposes of these chapter 11 cases is: 100 Tice Boulevard, Woodcliff Lake, New
Jersey 07677.
2
    As defined in Docket No. 375.

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Dated: February 3, 2025
                                              Respectfully submitted,

                                              /s/ Audrey L. Hornisher
                                              Audrey L. Hornisher (SBN 24094369)
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                                              Attorneys for Agree Limited Partnership, Vestar
                                              Alderwood Parkway, LLC, Vestar Bowles Crossing,
                                              LLC, Vestar Arizona XLVII, L.L.C., TPP Orchard
                                              Property, LLC, and Xia Property Management LLC


                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served upon all parties

that are registered to receive electronic notices via electronic notification pursuant to the ECF

procedures in this District on this 3rd day of February, 2025.

                                              /s/ Audrey L. Hornisher
                                              Audrey L. Hornisher




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